     Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 1 of 13




 1    Katherine F. Parks, Esq. - State Bar No. 6227
      Thorndal Armstrong Delk Balkenbush & Eisinger
 2
      6590 S. McCarran Blvd., Suite B
 3    Reno, Nevada 89509
      (775) 786-2882
 4    kfp@thorndal.com
      Attorneys for Defendant
 5
      TRACI DAVIS
 6
                                UNITED STATES DISTRICT COURT
 7
 8                                      DISTRICT OF NEVADA

 9
       TRINA OLSEN,                                         CASE NO.   3:19-cv-00665-MMD-WGC
10
                                         Plaintiff,
11
12     vs.
                                                            DEFENDANT TRACI DAVIS’S
13     WASHOE COUNTY SCHOOL DISTRICT, a                     ANSWER TO AMENDED VERIFIED
       political subdivision of the State of Nevada;        COMPLAINT
14     Washoe County School District Superintendent
15     TRACI DAVIS; and DOES 1 through 10
       inclusive,
16
                                         Defendants.
17
18           COMES NOW Defendant, TRACI DAVIS, by and through her attorneys of record,

19    Thorndal Armstrong Delk Balkenbush & Eisinger, and in answer to Plaintiff’s Verified
20
      Amended Complaint, hereby admits, denies, and alleges as follows:
21
                                            FIRST DEFENSE
22
23                                       Arbitration Exemption

24           1.     Defendant denies the allegations contained in Paragraph 1 of Plaintiff’s Verified
25    Amended Complaint.
26
                                         Jurisdiction and Venue
27
             2.     Defendant denies the allegations contained in Paragraph 2 of Plaintiff’s Verified
28
      Amended Complaint.

                                                      -1-
     Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 2 of 13



             3.      Defendant is without sufficient knowledge or information with which to form a
 1
 2    belief as to the truth of the allegations contained in Paragraph 3 of Plaintiff's Verified Amended

 3    Complaint and, upon such basis, denies said allegations.
 4
                                                    Parties
 5
             4.      Defendant is without sufficient knowledge or information with which to form a
 6
 7    belief as to the truth of the allegations contained in Paragraph 4 of Plaintiff's Verified Amended

 8    Complaint and, upon such basis, denies said allegations.
 9           5.      In answer to Paragraph 5 of Plaintiff’s Amended Verified Complaint, the
10
      allegations contained therein do not appear to apply to this Defendant. To the extent the
11
      allegations of said paragraph do apply to this Defendant, Defendant denies the allegations
12
13    contained therein.

14           6.      Defendant admits the allegations contained in Paragraph 6 of Plaintiff’s Verified
15    Amended Complaint.
16
             7.      Paragraph 7 of the Plaintiff’s Verified Amended Complaint calls for a legal
17
      conclusion, not facts, which cannot be admitted or denied by Defendant. To the extent
18
19    Paragraph 7 is deemed to contain factual allegations, Defendant denies said allegations.

20           8.      Paragraph 8 of the Plaintiff’s Verified Amended Complaint calls for a legal
21
      conclusion, not facts, which cannot be admitted or denied by Defendant. To the extent
22
      Paragraph 8 is deemed to contain factual allegations, Defendant denies said allegations.
23
             9.      Defendant denies the allegations contained in Paragraph 9 of Plaintiff’s Verified
24
25    Amended Complaint.

26    ///
27
      ///
28



                                                     -2-
     Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 3 of 13



                                             Allegations of Fact
 1
 2           10.     Defendant is without sufficient knowledge or information with which to form a

 3    belief as to the truth of the allegations contained in Paragraph 10 of Plaintiff's Verified Amended
 4
      Complaint and, upon such basis, denies said allegations.
 5
             11.     Defendant is without sufficient knowledge or information with which to form a
 6
 7    belief as to the truth of the allegations contained in Paragraph 11 of Plaintiff's Verified Amended

 8    Complaint and, upon such basis, denies said allegations.
 9           12.     Defendant is without sufficient knowledge or information with which to form a
10
      belief as to the truth of the allegations contained in Paragraph 12 of Plaintiff's Verified Amended
11
      Complaint and, upon such basis, denies said allegations.
12
13           13.     Defendant is without sufficient knowledge or information with which to form a

14    belief as to the truth of the allegations contained in Paragraph 13 of Plaintiff's Verified Amended
15    Complaint and, upon such basis, denies said allegations.
16
             14.     Defendant is without sufficient knowledge or information with which to form a
17
      belief as to the truth of the allegations contained in Paragraph 14 of Plaintiff's Verified Amended
18
19    Complaint and, upon such basis, denies said allegations.

20           15.     Defendant is without sufficient knowledge or information with which to form a
21
      belief as to the truth of the allegations contained in Paragraph 15 of Plaintiff's Verified Amended
22
      Complaint and, upon such basis, denies said allegations.
23
             16.     Defendant is without sufficient knowledge or information with which to form a
24
25    belief as to the truth of the allegations contained in Paragraph 16 of Plaintiff's Verified Amended

26    Complaint and, upon such basis, denies said allegations.
27
28



                                                     -3-
     Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 4 of 13



             17.     Defendant is without sufficient knowledge or information with which to form a
 1
 2    belief as to the truth of the allegations contained in Paragraph 17 of Plaintiff's Verified Amended

 3    Complaint and, upon such basis, denies said allegations.
 4
             18.     Defendant is without sufficient knowledge or information with which to form a
 5
      belief as to the truth of the allegations contained in Paragraph 18 of Plaintiff's Verified Amended
 6
 7    Complaint and, upon such basis, denies said allegations.

 8           19.     Defendant is without sufficient knowledge or information with which to form a
 9    belief as to the truth of the allegations contained in Paragraph 19 of Plaintiff's Verified Amended
10
      Complaint and, upon such basis, denies said allegations.
11
             20.     Defendant denies the allegations contained in Paragraph 20 of Plaintiff’s Verified
12
13    Amended Complaint.

14           21.     Defendant is without sufficient knowledge or information with which to form a
15    belief as to the truth of the allegations contained in Paragraph 21 of Plaintiff's Verified Amended
16
      Complaint and, upon such basis, denies said allegations.
17
             22.     Defendant is without sufficient knowledge or information with which to form a
18
19    belief as to the truth of the allegations contained in Paragraph 22 of Plaintiff's Verified Amended

20    Complaint and, upon such basis, denies said allegations.
21
             23.     Defendant is without sufficient knowledge or information with which to form a
22
      belief as to the truth of the allegations contained in Paragraph 23 of Plaintiff's Verified Amended
23
      Complaint and, upon such basis, denies said allegations.
24
25           24.     Defendant denies the allegations contained in Paragraph 24 of Plaintiff’s Verified

26    Amended Complaint.
27
28



                                                     -4-
     Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 5 of 13



               25.   Defendant is without sufficient knowledge or information with which to form a
 1
 2    belief as to the truth of the allegations contained in Paragraphs 25, 25a, 25b, 25c, and 25d of

 3    Plaintiff's Verified Amended Complaint and, upon such basis, denies said allegations.
 4
               26.   Paragraph 26 of Plaintiff’s Verified Amended Complaint contains citations to a
 5
      decision and award set forth as Exhibit 4 to the Verified Amended Complaint. Exhibit 4 speaks
 6
 7    for itself.

 8             27.   Defendant denies the allegations contained in Paragraph 27 of Plaintiff’s Verified
 9    Amended Complaint.
10
               28.   Defendant denies the allegations contained in Paragraph 28 of Plaintiff’s Verified
11
      Amended Complaint.
12
13             29.   Defendant denies the allegations contained in Paragraph 29 of Plaintiff’s Verified

14    Amended Complaint.
15             30.   Defendant denies the allegations contained in Paragraph 30 of Plaintiff’s Verified
16
      Amended Complaint.
17
                                          CLAIMS FOR RELIEF
18
19                         42 U.S.C. 1983 – VIOLATION OF DUE PROCESS

20                               (PROTECTED PROPERTY INTEREST)
21
                                         (Against Defendant Davis)
22
               31.   In answer to Paragraph 31 of Plaintiff’s Verified Amended Complaint, Defendant
23
      repeats and realleges each and every answer to Paragraphs 1 through 30 as though fully set forth
24
25    herein at length.

26             32.   Defendant denies the allegations contained in Paragraph 32 of Plaintiff’s Verified
27
      Amended Complaint.
28



                                                      -5-
     Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 6 of 13



             33.     Defendant denies the allegations contained in Paragraph 33 of Plaintiff’s Verified
 1
 2    Amended Complaint.

 3           34.     Defendant denies the allegations contained in Paragraph 34 of Plaintiff’s Verified
 4
      Amended Complaint.
 5
             35.     Defendant denies the allegations contained in Paragraph 35 of Plaintiff’s Verified
 6
 7    Amended Complaint.

 8           36.     Defendant denies the allegations contained in Paragraph 36 of Plaintiff’s Verified
 9    Amended Complaint.
10
11
                                   42 U.S.C. 1983 – MONELL CLAIM
12
13                                           (Against WCSD)

14           37.     In answer to Paragraph 37 of Plaintiff’s Verified Amended Complaint, Defendant
15    repeats and realleges each and every answer to Paragraphs 1 through 36 as though fully set forth
16
      herein at length.
17
             38.     Defendant denies the allegations contained in Paragraph 38 of Plaintiff’s Verified
18
19    Amended Complaint.

20           39.     Defendant denies the allegations contained in Paragraph 39 of Plaintiff’s Verified
21
      Amended Complaint.
22
             40.     Defendant denies the allegations contained in Paragraph 40 of Plaintiff’s Verified
23
      Amended Complaint.
24
25           41.     Defendant denies the allegations contained in Paragraph 41 of Plaintiff’s Verified

26    Amended Complaint.
27
             42.     Defendant denies the allegations contained in Paragraph 42 of Plaintiff’s Verified
28
      Amended Complaint.


                                                    -6-
     Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 7 of 13



             43.     Defendant denies the allegations contained in Paragraph 43 of Plaintiff’s Verified
 1
 2    Amended Complaint.

 3           44.     Defendant denies the allegations contained in Paragraph 44 of Plaintiff’s Verified
 4
      Amended Complaint.
 5
                    VIOLATION OF DUE PROCESS – NEVADA CONSTITUTION
 6
 7                                        (Against All Defendants)

 8           45.     In answer to Paragraph 45 of Plaintiff’s Verified Amended Complaint, Defendant
 9    repeats and realleges each and every answer to Paragraphs 1 through 44 as though fully set forth
10
      herein at length.
11
             46.     Paragraph 46 of the Plaintiff’s Verified Amended Complaint calls for a legal
12
13    conclusion, not facts, which cannot be admitted or denied by Defendant. To the extent

14    Paragraph 46 is deemed to contain factual allegations, Defendant denies said allegations.
15           47.     Defendant denies the allegations contained in Paragraph 47 of Plaintiff’s Verified
16
      Amended Complaint.
17
             48.     Defendant denies the allegations contained in Paragraph 48 of Plaintiff’s Verified
18
19    Amended Complaint.

20                 TORTIOUS DISCHARGE IN VIOLATION OF PUBLIC POLICY
21
                                          (Against All Defendants)
22
             49.     In answer to Paragraph 49 of Plaintiff’s Verified Amended Complaint, Defendant
23
      repeats and realleges each and every answer to Paragraphs 1 through 48 as though fully set forth
24
25    herein at length.

26           50.     Defendant is without sufficient knowledge or information with which to form a
27
      belief as to the truth of the allegations contained in Paragraph 50 of Plaintiff's Verified Amended
28
      Complaint and, upon such basis, denies said allegations.


                                                     -7-
     Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 8 of 13



             51.     Defendant denies the allegations contained in Paragraph 51 of Plaintiff’s Verified
 1
 2    Amended Complaint.

 3           52.     Paragraph 52 of the Plaintiff’s Verified Amended Complaint calls for a legal
 4
      conclusion, not facts, which cannot be admitted or denied by Defendant. To the extent
 5
      Paragraph 52 is deemed to contain factual allegations, Defendant denies said allegations.
 6
 7           53.     Defendant denies the allegations contained in Paragraph 53 of Plaintiff’s Verified

 8    Amended Complaint.
 9           54.     Defendant denies the allegations contained in Paragraph 54 of Plaintiff’s Verified
10
      Amended Complaint.
11
                                            SECOND DEFENSE
12
13           Plaintiff’s Verified Amended Complaint on file herein fails to state a claim against

14    Defendant upon which relief may be granted.
15                                              THIRD DEFENSE
16
             It has been necessary for Defendant to employ the services of an attorney to defend this
17
      action, and a reasonable sum should be allowed Defendant as and for attorney's fees, together
18
19    with her costs expended in this action.

20                                          FOURTH DEFENSE
21
             There has been an accord and satisfaction in reference to the claim which is the subject
22
      matter of the Plaintiff’s Verified Amended Complaint.
23
24                                              FIFTH DEFENSE

25           There has been payment and satisfaction in reference to the claim which is the subject

26    matter of the Plaintiff’s Verified Amended Complaint herein.
27
      ///
28



                                                     -8-
     Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 9 of 13



                                             SIXTH DEFENSE
 1
 2            Plaintiff is constrained from invoking equitable jurisdiction and an equitable remedy

 3    because Plaintiff has not come before this Court with clean hands.
 4
                                           SEVENTH DEFENSE
 5
              Upon information and belief, Plaintiff has failed to mitigate her damages.
 6
 7                                          EIGHTH DEFENSE

 8            Plaintiff is estopped from asserting any cause of action whatever against Defendant.
 9                                           NINTH DEFENSE
10
              Plaintiff, by her acts and conduct, has waived and abandoned any and all claims as
11
      alleged herein against Defendant.
12
13
14                                           TENTH DEFENSE
15            An award of punitive damages against Defendant would be violative of the Fifth
16
      Amendment of the United States Constitution in that there is no assurance against multiple,
17
      unrestrained punishment in the form of punitive damages. Such an award of punitive damages
18
19    would be violative of the double jeopardy provisions of the Nevada Constitution, Art. I, §8.

20                                        ELEVENTH DEFENSE
21
              An award of punitive damages against Defendant would be violative of the due process
22
      clause of the United States Constitution, the Fourteenth Amendment, §1, and violative of the due
23
      process clause of the Nevada Constitution, Art. I, §8.
24
25                                         TWELFTH DEFENSE
26
              An award of punitive damages against Defendant would constitute an undue burden upon
27
      interstate commerce and violate the interstate commerce clause of the United States Constitution,
28
      Art. I, §8.


                                                     -9-
 Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 10 of 13




 1                                      THIRTEENTH DEFENSE
 2          An award of punitive damages against Defendant would constitute an excessive fine
 3   violative of the Nevada Constitution, Art. I, §7.
 4                                      FOURTEENTH DEFENSE
 5          An award of punitive damages against Defendant should be barred since Plaintiff cannot
 6   establish that Defendant had an "evil mind" and "conducted herself in an aggravated and
 7   outrageous manner".
 8                                       FIFTEENTH DEFENSE
 9          The burden of proof on punitive damages should be by clear and convincing evidence.
10                                       SIXTEENTH DEFENSE
11          Plaintiff’s claims are barred by the doctrine of qualified immunity.
12                                     SEVENTEENTH DEFENSE
13          Plaintiff is barred from recovering damages against Defendant by her failure to exhaust
14   administrative remedies.
                                        EIGHTEENTH DEFENSE
15
16          Defendant’s alleged actions and omissions were taken with due care in the execution of

17   statutes and regulations and, therefore, Defendant is statutorily immune from suit.
18
                                        NINETEENTH DEFENSE
19
            Defendant’s alleged actions and omissions occurred in the exercise or performance of
20
21   discretionary functions and duties and, therefore, Defendant is statutorily immune from suit.

22                                       TWENTIETH DEFENSE
23          Defendant’s alleged conduct did not violate clearly established statutory or constitutional
24
     rights of which a reasonable person would have known.
25
                                       TWENTY-FIRST DEFENSE
26
27          Plaintiff’s recovery of damages concerning Plaintiff’s state tort claims are limited by the

28   provisions of Chapter 41 of the Nevada Revised Statutes.



                                                    - 10 -
 Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 11 of 13



                                      TWENTY-SECOND DEFENSE
 1
 2          On information and belief, Plaintiff failed to comply with the notice provisions of

 3   Chapter 41 of the Nevada Revised Statutes.
 4
                                       TWENTY-THIRD DEFENSE
 5
            Plaintiff’s Amended Verified Complaint must be dismissed because Plaintiff did not, and
 6
 7   does not, have a compensable property interest in the subject matter at issue.

 8                                    TWENTY-FOURTH DEFENSE
 9          Plaintiff’s Amended Verified Complaint must be dismissed on the grounds that she lacks
10
     standing to sue under Article III of the United States Constitution and the Nevada Constitution.
11
                                       TWENTY-FIFTH DEFENSE
12
13          No fundamental right is implicated by the conduct described in Plaintiff’s Amended

14   Verified Complaint.
15                                     TWENTY-SIXTH DEFENSE
16
            Plaintiff is barred from recovering punitive damages in this case, under either state or
17
     federal claims for relief, by virtue of NRS 41.035 and 42 U.S.C. §1988.
18
19                                    TWENTY-SEVENTH DEFENSE

20          Pursuant to FRCP 11, as amended, all possible affirmative defenses may not have been
21
     alleged herein insofar as sufficient facts were not available after reasonable inquiry upon the
22
     filing of Defendant's answer, and therefore Defendant reserves the right to amend this answer to
23
     allege additional affirmative defenses if subsequent investigation warrants.
24
25          WHEREFORE, Defendant prays:

26          1.      That Plaintiff’s Verified Amended Complaint be dismissed with prejudice and
27
     that she take nothing thereby;
28
            2.      That Defendant be awarded a reasonable attorney's fee and costs of suit; and


                                                    - 11 -
 Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 12 of 13



         3.    For such other and further relief as this Court deems just and proper.
 1
 2       DATED this 15th day of November, 2019.

 3                                           THORNDAL ARMSTRONG
                                             DELK BALKENBUSH & EISINGER
 4
 5                                           By: / s / Katherine F. Parks
                                                Katherine F. Parks, Esq.
 6                                              State Bar No. 6227
 7                                              6590 S. McCarran Blvd., Suite B
                                                Reno, Nevada 89509
 8                                              (775) 786-2882
                                                kfp@thorndal.com
 9                                              Attorneys for Defendant
10                                              Traci Davis

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                              - 12 -
 Case 3:19-cv-00665-MMD-WGC Document 14 Filed 11/15/19 Page 13 of 13



                                       CERTIFICATE OF SERVICE
 1
 2          Pursuant to FRCP 5(b), I certify that I am an employee of THORNDAL ARMSTRONG DELK

 3   BALKENBUSH & EISINGER, and that on this date I caused the foregoing DEFENDANT TRACI
 4
     DAVIS’S ANSWER TO AMENDED VERIFIED COMPLAINT to be served on all parties to
 5
     this action by:
 6
 7          placing an original or true copy thereof in a sealed, postage prepaid, envelope in the

 8                     United States mail at Reno, Nevada.
 9     ✓    United States District Court, District of Nevada CM/ ECF (Electronic Case Filing)
10
     _____ personal delivery
11
12   ____   facsimile (fax)

13   _____ Federal Express/UPS or other overnight delivery
14   fully addressed as follows:
15
                                             Luke Busby, Esq.
16                                        Luke Andrew Busby, Ltd.
                                           316 California Avenue
17                                          Reno, Nevada 89509
18                                          Attorney for Plaintiff

19                                          Robert A. Dotson, Esq.
20                                          Justin C. Vance, Esq.
                                                 Dotson Law
21                                  5335 Reno Corporate Drive, Suite 100
                                             Reno, Nevada 89511
22                               Attorneys for Washoe County School District
23
            DATED this 15th day of November, 2019.
24
                                                    / s / Sam Baker
25                                                 An employee of THORNDAL ARMSTRONG
26                                                 DELK BALKENBUSH & EISINGER

27
28



                                                    - 13 -
